Case 2:17-bk-52498        Doc 57    Filed 07/25/18 Entered 07/25/18 09:15:07             Desc Main
                                    Document     Page 1 of 7


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


In re:                                        :       Case No. 17-52498

         Juakita Bowens                       :       Chapter 13

                       Debtor                 :       Judge John E. Hoffman, Jr.


               DEBTOR’S MOTION TO MODIFY POST-CONFIRMATION


         Debtor, by and through counsel, hereby moves to modify her Chapter 13 plan. Debtor

respectfully requests that the modification be granted for reasons more fully set forth in the

Memorandum below.



                                                      Respectfully submitted,


                                                      /s/ W. Mark Jump
                                                      W. Mark Jump (0062837)
                                                      Attorney for Debtor(s)
                                                      2130 Arlington Avenue
                                                      Columbus, OH 43221
                                                      (614) 481-4480 (telephone)
                                                      (866)334.2208 (facsimile)
                                                      bankruptcycourt@jumplegal.com
Case 2:17-bk-52498       Doc 57       Filed 07/25/18 Entered 07/25/18 09:15:07       Desc Main
                                      Document     Page 2 of 7



                               MEMORANDUM IN SUPPORT

       On January 26, 2018, Debtor’s Chapter 13 plan was confirmed. Pursuant to the Debtor’s

Chapter 13 plan, Debtor was required to make payments of $2,500.00 per month for twenty four

(24) months, and then increase to $2,610.00 per month for the remainder of the plan. The

unsecured dividend is one hundred percent (100%).

       Debtor’s plan is projecting to longer than the maximum sixty (60) months in violation of

11 U.S.C. § 1322(d) due to mortgage payment changes. Therefore, Debtor would like to

increase her plan payment to $3,000.00 for the remainder of the plan beginning in July, 2018.

The dividend paid to unsecured creditors shall remain one hundred percent (100%). This

modified plan projects to complete within the next forty five (45) months.

       The proposed modification will not modify the rights of the holders of unsecured claims.

The proposed modification will not modify the rights of any secured claim holder.

       The proposed modified plan is attached hereto and a copy of the same, together with a

copy of this Motion and Memorandum of Support has been sent to the Chapter 13 Trustee, US

Trustee, and holders of all claims.

       WHEREFORE, the Debtor prays she be permitted to amend the plan to conform to the

attached amended plan pursuant to 11 USC Section 1329.


                                                    /s/ W. Mark Jump
                                                    W. Mark Jump (0062837)
                                                    Attorney for Debtor(s)
                                                    2130 Arlington Avenue
                                                    Columbus, OH 43221
                                                    (614) 481-4480 (telephone)
                                                    (866)334.2208 (facsimile)
                                                    bankruptcycourt@jumplegal.com
Case 2:17-bk-52498        Doc 57   Filed 07/25/18 Entered 07/25/18 09:15:07          Desc Main
                                   Document     Page 3 of 7


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




In re:                                      :       Case No. 17-52498

         Juakita Bowens                     :       Chapter 13

                       Debtor               :       Judge John E. Hoffman, Jr.


                  AMENDMENT TO CONFIRMED CHAPTER 13 PLAN

          Now comes the Debtor herein, to amend the plan to state:


       Debtor’s plan payment shall increase to $3,000.00 per month for the remainder of the
plan beginning in July, 2018. The general unsecured dividend shall remain one hundred percent
(100%).


Dated: July 25, 2018                                       /s/ W. Mark Jump
                                                           Attorney for Debtors


                                     Debtor’s Verification

        I declare under penalty of perjury that I have read the attached amendments and that they
are true and correct to the best of my knowledge, information or belief.

Date: July 25, 2018


/s/
Juakita Bowens
Case 2:17-bk-52498        Doc 57   Filed 07/25/18 Entered 07/25/18 09:15:07             Desc Main
                                   Document     Page 4 of 7


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




In re:                                        :      Case No. 17-52498

         Juakita Bowens                       :      Chapter 13

                       Debtor                 :      Judge John E. Hoffman, Jr.


                       NOTICE OF MOTION/OBJECTION

The Debtor has filed papers with the Court to modify her plan. Your rights may be affected.
You should read these papers carefully and discuss them with your attorney, if you have one in
this bankruptcy case. If you do not have an attorney, you may wish to consult one.

If you do not want the court to grant the relief sought in the motion/objection, then on or before
twenty-one (21) days from the date set forth in the certificate of service for the
motion/objection, you must file with the court a response explaining your position by mailing
your response by ordinary U.S. Mail to 170 North High St., Columbus, OH 43215, or your
attorney must file a response using the court’s ECF System.

The court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the court’s ECF System or by 2)
ordinary U.S. Mail to;

W. Mark Jump, 2130 Arlington Ave, Columbus, OH 43221

Faye D. English, Chapter 13 Trustee, 10 West Broad Street, Suite 900, Columbus, Ohio 43215-
3449

If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion/objection and may enter an order granting that relief without further
notice or hearing.
Case 2:17-bk-52498       Doc 57    Filed 07/25/18 Entered 07/25/18 09:15:07              Desc Main
                                   Document     Page 5 of 7



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion to Modify was served (i)

electronically on July 25, 2018 through the Court’s ECF System on all ECF participants

registered in this case at the email address registered with the court and (ii) by ordinary U.S.

mail on July 25, 2018 addressed to:

See Attached Creditor Matrix


                                              /s/ W. Mark Jump
                                              W. Mark Jump
Label Matrix forCase   2:17-bk-52498
                 local noticing        Doc 57     FiledCredit
                                            Educational  07/25/18
                                                              ManagementEntered
                                                                         Corporation07/25/18 09:15:07
                                                                                             Exeter Finance Desc    Main
                                                                                                             Corporation
0648-2                                           Document
                                            P.O. Box 16408         Page    6  of 7           P.O. BOX 165028
Case 2:17-bk-52498                           St Paul, MN 55116-0408                          IRVING, TX 75016-5028
Southern District of Ohio
Columbus
Wed Jul 25 09:12:26 EDT 2018
Synchrony Bank                               AES/SLM Trust                                   AT&T
c/o PRA Receivables Management, LLC          PO BOX 61047                                    c/o ERC
PO Box 41021                                 Harrisburg, PA 17106-1047                       PO BOX 57547
Norfolk, VA 23541-1021                                                                       Jacksonville, FL 32241-7547


Acceptance Now                               Asst US Trustee (Col)                           Attn: Exeter Finance Corp. Department
5501 Headquarters Drive                      Office of the US Trustee                        Ascension Capital Group
Plano, TX 75024-5837                         170 North High Street                           Account: XXXXX1477
                                             Suite 200                                       P.O. Box 165028
                                             Columbus, OH 43215-2417                         Irving, TX 75016-5028

Capital One                                  Cavalry SPV I, LLC                              (p)COLUMBIA GAS
PO BOX 30285                                 500 Summit Lake Drive, Ste 400                  290 W NATIONWIDE BLVD 5TH FL
Salt Lake City, UT 84130-0285                Valhalla, NY 10595-2321                         BANKRUPTCY DEPARTMENT
                                                                                             COLUMBUS OH 43215-4157


Columbia Gas of Ohio                         Exeter Finance                                  Exeter Finance LLC
c/o Online Collections                       Po Box 166097                                   PO Box 167399
PO BOX 1489                                  Irving, TX 75016-6097                           Irving TX 75016-7399
Winterville, NC 28590-1489


First Premier Bank                           Great Lakes Higher Education                    PHEAA
601 S. Minnesota Ave.                        PO BOX 7860                                     PO Box 8147
Sioux Falls, SD 57104-4868                   Madison, WI 53707-7860                          Harrisburg, PA 17105-8147



PRA Receivables Management, LLC              Penny Mac                                       PennyMac Loan Services, LLC
PO Box 41021                                 PO BOX 514387                                   6101 Condor Drive, Suite 200
Norfolk, VA 23541-1021                       Los Angeles, CA 90051-4387                      Moorpark CA 93021-2602



(p)PORTFOLIO RECOVERY ASSOCIATES LLC         Premier Bankcard, Llc                           Sprint
PO BOX 41067                                 c o Jefferson Capital Systems LLC               c/o Convergent Outsourcing
NORFOLK VA 23541-1067                        Po Box 7999                                     800 SW 39th St.
                                             Saint Cloud Mn 56302-7999                       Renton, WA 98057-4975


Synchrony Bank                               The Huntington National Bank                    US DEPT OF EDUCATION
c/o Cavalry Portfolio                        PO Box 89424                                    CLAIMS FILING UNIT
500 Summit Lake Dr.                          Cleveland, OH 44101-6424                        PO BOX 8973
Valhalla, NY 10595-1340                                                                      MADISON WI 53708-8973


Faye D. English                              Juakita Bowens                                  W Mark Jump
Chapter 13 Trustee                           7940 Harvestmoon Dr.                            2130 Arlington Avenue
10 West Broad Street                         Reynoldsburg, OH 43068-8133                     Columbus, OH 43221-4314
Suite 900
Columbus, OH 43215-3449
               Case 2:17-bk-52498            Doc 57       Filed 07/25/18 Entered 07/25/18 09:15:07                      Desc Main
                                                          Document     Page 7 of 7
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Columbia Gas of Ohio                                 Portfolio Recovery Associates, LLC
P.O. Box 117                                         POB 41067
Columbus, OH 43216                                   Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)PennyMac Loan Services, LLC                       (d)Educational Credit Management Corporation         End of Label Matrix
                                                     po box 16408                                         Mailable recipients   29
                                                     St. Paul, MN 55116-0408                              Bypassed recipients    2
                                                                                                          Total                 31
